Case 2:04-cr-20476-SH|\/| Document 98 Filed 05/19/05 Page 1 of 2 P D 288

F|I.ED i`-$"‘r' 4 _ D.!‘J.
IN THE UNITED STATES DISTRlCT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE 95 tim 1 g tom ‘2; 32

 

WESTERN DIVISION
R(JBE¥»`\"L` '¢
cL_EP,§<;__
* W.D. \3-"
UNITED STATES OF AMERICA,
*
Plaintiff,
*
vs. No. 04-20476-D

IOHN D. VAUGHAN,

Defendant.

ORDER GRANTING GOVERNMENT'S MOTION
TO CONTINUE SENTENCING

lt is hereby ORDERED that the Government‘S motion to continue the sentencing of
defendant, JOHN D. VAUGHAN, currently Set for May 24, 2005, is hereby GRANTED, and the
Sentencing is hereby reset to ‘~Su""( ,ai, 2005, at \ §§ Qn\

DONE at Memphis, Tennessee, this |§'p`day oi""\u»§, 2005.

 

APPROVED: /

T omas A. Colthurst
Assistant U.S. Attorney

    

us moment entered on the docket§heet In compliance

mm Ru|e J.‘f and/or 32(b] FRC!'P On 12 Zl-£_,J_

 

 

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This notice confirms a copy of the document docketed as number 98 in
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Honorable Bernice Donald
US DISTRICT COURT

